     Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 1 of 11 PageID #:335




                       UNITED STATE DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MICKEY LONIELLO, JR.,                                 )
                                                      )
                        Plaintiff,                    )
                                                      )
v.                                                    )       No: 15 cv 7832
                                                      )
GHALIAH OBAISI, Independent Executor                  )       Judge Sharon Johnson Coleman
of the Estate of DR. SALEH OBAISI, Deceased;          )
WEXFORD HEALTH SOURCES, INC;                          )
and OFFICER TASHA JACKSON;                            )       Magistrate Judge Sheila Finnegan
                                                      )
                        Defendants.                   )

                         FIFTH AMENDED COMPLAINT AT LAW

        NOW COMES the Plaintiff, Mickey Loniello Jr., by and through his attorney, David S.

Lipschultz, and complaining against Defendants Ghaliah Obaisi, Independent Executor of the

Estate of Dr. Saleh Obaisi, Deceased; Wexford Health Sources, Inc.; and Officer Tasha Jackson;

states as follows:

                                 JURISDICTION AND VENUE

        1.      This action is brought pursuant to the United States Constitution and 42 U.S.C.

§1983 and §1988 (the Civil Rights Act of 1871) to redress deprivations of the civil rights of the

Plaintiff, accomplished by acts and/or omissions of the Defendants and committed under color of

law.

        2.      This Court has jurisdiction pursuant to 28 U.S.C. §1343, §1331 and §1367.

        3.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391, as the acts

complained of took place in this district.

                                             PARTIES

        4.      Mickey Loniello Jr., Plaintiff, was confined, at all times relevant in this

                                                 1
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 2 of 11 PageID #:336




Complaint, at Stateville Correctional Center, an Illinois Department of Corrections facility.

       5.        Defendant, Ghaliah Obaisi, Independent Executor of the Estate of Dr. Saleh

Obaisi, Deceased, is the administrator of the estate of Dr. Obaisi. Dr. Saleh Obaisi (“Dr.

Obaisi”), oversaw the care of Mr. Loniello as the Medical Director at Stateville Correctional

Center (“Stateville”). Dr. Obaisi was an employee of Defendant Wexford Health Sources, Inc.,

and is sued in his individual capacity. At the time of the incidents at issue in this Complaint, Dr.

Obaisi was engaged in the conduct complained of while acting within the scope of his

employment and under color of law.

       6.        Defendant Wexford Health Source, Inc. (“Wexford”) is a Pennsylvania

corporation that provides healthcare professionals and services to correctional facilities,

including Stateville (and other Illinois correctional centers). Wexford was the provider of

healthcare to the Plaintiff, Mr. Loniello, at Stateville at all times relevant. Wexford employed Dr.

Obaisi as the Medical Director of Stateville. Wexford was the employer of the other doctors,

nurses and medical staff who treated Mr. Loniello.

       7.        Defendant Officer Tasha Jackson (“Ms. Jackson”) was, at all times relevant, a

correctional officer at Stateville. Officer Jackson can be identified based on the fact that she

worked in proximity to the Plaintiff, at the times complained of, on the 7:00 a.m. to 3:00 p.m.

shift. Officer Jackson is sued in her individual capacity. At the time of the incidents at issue in

this Complaint, Officer Jackson was engaged in the conduct complained of while acting within

the scope of her employment and under color of law.

       8.        All Defendants — individually and collectively — caused the Plaintiff to lose

vision in his right eye, pursuant to these allegations.



                                                   2
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 3 of 11 PageID #:337




                                     FACTUAL ALLEGATIONS

       9.      On May 19, 2015, Mr. Loniello was incarcerated at Stateville.

       10.     That day, Mr. Loniello was provided with dirty and wet bedding supplies. Mr.

Loniello asked a correctional officer for adequate bedding supplies; the officer denied this

request.

       11.      The next morning, on May 20, 2015, Mr. Loniello awoke with his right eye

irritated. Mr. Loniello asked Officer Jackson for medical care. Officer Jackson denied his

request. Later that night, Mr. Loniello informed a female nurse, who was distributing

medications, that there was a serious problem with his right eye. The nurse refused to arrange

medical care for Mr. Loniello.

       12.      For three days the Plaintiff asked nearly every officer and nurse he saw for

medical attention. Those requests were denied.

       13.      During this time, both of Mr. Loniello’s eyes were swollen shut.

       14.      On May 23, 2015, in the night, a nurse escorted Plaintiff to Stateville’s health

care unit. A different nurse examined Mr. Loniello’s eye using an officer’s flashlight.

       15.      That examining nurse then called Dr. Obaisi by telephone in Mr. Loniello’s

presence. The nurse described Mr. Loniello’s eye condition to Dr. Obaisi. After the call ended

the same nurse informed Mr. Loniello that Dr. Obaisi ordered him to be transferred to St. Joseph

Medical Center in Joliet (“St. Joseph”), due to the severity of his eye problem

       16.      Warden Tarry Williams (“Warden Williams”) of Stateville approved Mr.

Loniello’s transfer to St. Joseph.

       17.      During an overnight stay, St. Joseph medical personnel diagnosed Mr. Loniello

with a serious eye infection. However, St. Joseph medical professionals did not have the

                                                 3
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 4 of 11 PageID #:338




ophthalmological expertise to treat Mr. Loniello.

       18.      On May 24, 2015, St. Joseph medical professionals discharged Plaintiff back to

Stateville and informed Dr. Obaisi and others that St. Joseph was not able to treat Mr. Loniello’s

eye issues. St. Joseph informed Dr. Obaisi and others that Plaintiff needed immediate

ophthalmological treatment.

       19.      From May 24 through May 26, 2015, Dr. Obaisi and Warden Williams failed to

secure the immediate ophthalmological treatment ordered by St. Joseph for Mr. Loniello. During

this time period, Plaintiff complained in person to Assistant Warden Lamb (“Warden Lamb”) of

Stateville about the denial of medical care for his eyes. Warden Lamb did not arrange for Mr.

Loniello to obtain medical care.

       20.      On May 26, 2015, a health care provider at Stateville informed Dr. Obaisi that

Mr. Loniello must be taken to a hospital for immediate ophthalmologic care. In response, Dr.

Obaisi arranged for Plaintiff to be transported to St. Joseph– even though it was now known to

Dr. Obaisi and Warden Williams that St. Joseph did not have the proper ophthalmological

medical care providers for Mr. Loniello’s medical needs. Soon after arriving at St. Joseph, Mr.

Loniello was transferred to University of Illinois at Chicago’s eye clinic (“UIC”).

       21.      On May 28, 2015, UIC medical personnel discharged Plaintiff. Upon discharge

UIC medical personnel handed the Stateville correctional officers (who were escorting Mr.

Loniello to and from the hospital) prescriptions for medications for Plaintiff’s eye. Those officers

later handed the prescriptions to a nurse at Stateville.

       22.      However, for several days in early June, Dr. Obaisi did not provide Plaintiff with

his prescribed medications.

       23.      On June 1, 2015, during this time period without eye medications, Mr. Loniello

                                                  4
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 5 of 11 PageID #:339




informed one of Dr. Obaisi’s nurses that he did not have his medications.

       24.        On or about June 5, 2015, Mr. Loniello was transported from Stateville to the

UIC eye clinic.

       25.        A doctor at UIC informed Mr. Loniello that since he was not receiving his

medications at Stateville he was going to “lose” his right eye. The doctor wrote additional

prescriptions for the Plaintiff and handed them to the Stateville officers escorting Plaintiff.

       26.        Later, UIC medical personnel informed Mr. Loniello that he needed a cornea

transplant.

       27.        Dr. Obaisi did not act in a proper manner to ensure that Mr. Loniello obtained

the transplant.

       28.        Mr. Loniello filed several grievances and medical request slips with Warden

Williams and Dr. Obaisi complaining of, and seeking, medical care.

       29.        Mr. Loniello currently is unable to see out of his right eye.

       30.        It is in this and other manners by which the Defendants caused the Plaintiff to

lose vision in his right eye and to suffer related damages.

                                              COUNT I

                            VIOLATION OF 42 U.S.C. 1983:
                      DENIAL OF TIMELY MEDICAL TREATMENT
                  AGAINST GHALIAH OBAISI, INDEPENDENT EXECUTOR

       31.        Plaintiff re-alleges Paragraphs 1 through 30 as if fully set forth herein.

       32.        Dr. Obaisi knew that Plaintiff required immediate and ongoing medical services

for his right eye infection, yet Dr. Obaisi denied Plaintiff those services.

         33.      Dr. Obaisi acted with deliberate indifference by failing to

 properly treat Mr. Loniello for his eye infection.

                                                   5
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 6 of 11 PageID #:340




            34.    By failing to properly treat Mr. Loniello, Dr. Obaisi acted willfully, deliberately,

 maliciously, or with reckless disregard for Mr. Loniello’s clearly established constitutional

 rights.

            35.    As a direct and proximate result of the acts and omissions of Dr. Obaisi, Plaintiff

 was denied timely treatment and suffered significant injury and damages.

            36.    As a direct and proximate result of the acts and omissions of Dr. Obaisi, Plaintiff

 was denied adequate treatment and suffered significant injury and damages.

             WHEREFORE, the Plaintiff prays that this Honorable Court enter judgment in

  favor of the Plaintiff and against the Defendant Ghaliah Obaisi, Independent Executor of

  the Estate of Dr. Saleh Obaisi, Deceased, and to award Plaintiff compensatory damages,

  punitive damages, attorney’s fees, and costs.

                                                COUNT II

                               VIOLATION OF 42 U.S.C. 1983:
                         DENIAL OF TIMELY MEDICAL TREATMENT
                            AGAINST OFFICER TASHA JACKSON

           37.     Plaintiff re-alleges Paragraphs 1 through 30 as if fully set forth herein.

           38.     Officer Jackson knew that Plaintiff required immediate and ongoing medical

services for his right eye infection yet Officer Jackson denied Plaintiff those services.

           39.     Officer Jackson acted with deliberate indifference by failing to properly arrange

medical care for Mr. Loniello for his eye infection.

           40.     By failing to properly arrange medical care for Mr. Loniello, Officer Jackson

acted willfully, deliberately, maliciously, or with reckless disregard for Mr. Loniello’s clearly

established constitutional rights.

           41.     As a direct and proximate result of the acts and omissions of Officer Jackson,

                                                    6
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 7 of 11 PageID #:341




Plaintiff was denied adequate treatment and suffered significant injury and damages.

       42.      Officer Jackson acted willfully, deliberately, maliciously, or with reckless

disregard for Mr. Loniello’s clearly established constitutional rights.

       43.      As a direct and proximate result of the acts and omissions of Officer Jackson,

Plaintiff was denied timely treatment and suffered significant injury and damages.

         WHEREFORE, the Plaintiff prays that this Honorable Court enter judgment in favor

  of the Plaintiff and against the Defendant Officer Jackson, and to award Plaintiff

  compensatory damages, punitive damages, attorney’s fees, and costs.

                                             COUNT III

                          VIOLATION OF 42 U.S.C. 1983:
                  MONELL POLICY, CUSTOM & PRACTICE CLAIM
              FAILURE TO ADEQUATELY TREAT PRISONERS WITH EYE
               DISEASES AGAINST WEXFORD HEALTH SOURCES, INC.

       44.      Plaintiff re-alleges Paragraphs 1 through 30 as if fully set forth herein.

       45.      Wexford maintains a policy, custom and practice of denying adequate medical

attention, care and treatment for inmates with eye diseases and illnesses.

       46.      Wexford can be held liable for Mr. Loniello’s claims because Dr. Obaisi’s and

Wexford’s constitutional violations against Mr. Loniello were caused by an official Wexford

corporate policy that fails to provide adequate and critical ophthalmological services to prisoners

with eye diseases and illnesses.

       47.      This corporate policy was the moving force behind the constitutional deprivation

experienced by Mr. Loniello.

       48.      There are numerous other prisoners who were and are incarcerated in Stateville

who have suffered from Wexford’s policies.


                                                  7
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 8 of 11 PageID #:342




       49.      Elements of Wexford’s policy, custom and practice of denying adequate medical

attention, care and treatment for inmates with eye diseases and illnesses include but are not

limited to:

                a. Refusing to examine Mr. Loniello and other Stateville
                   prisoners concerning their complaints of eye disease or
                   illness;

                b. Refusing to diagnose Mr. Loniello and other Stateville
                   prisoners concerning their complaints of eye disease or illness;
                c. Refusing to provide adequate medical care and treatment for Mr.
                   Loniello and other Stateville prisoners concerning their complaints of
                   eye disease or illness;
                 d. Refusing to provide adequate access to outside ophthalmologists to
                    Mr. Loniello and other Stateville prisoners concerning their
                    complaints of eye disease or illness;

                e. Refusing to provide adequate delivery of eye medications to Mr. Loniello
                   and other Stateville prisoners concerning their complaints of eye disease or
                   illness; and,

                f. Training its staff to deny adequate medical attention, care and treatment for
                   inmates with eye disease and illness.

       50.      Dr. Obaisi and other Wexford employees who encountered Mr. Loniello and

other Stateville prisoners concerning their complaints of eye disease or illness were acting in the

ordinary course of their employment, and within the scope of their employment, with Wexford.

       51.      Because Wexford intentionally and knowingly maintains a policy, custom and

practice of denying adequate medical attention, care and treatment to Mr. Loniello and other

inmates with eye diseases and illnesses, that policy constitutes deliberate indifference in violation

of the Eighth and Fourteenth Amendments of the U.S. Constitution.

         WHEREFORE, the Plaintiff prays that this Honorable Court enter judgment in

 favor of the Plaintiff and against the Defendant Wexford Health Sources, Inc., and to

 award Plaintiff proper relief, attorney’s fees, and costs.
                                                   8
   Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 9 of 11 PageID #:343




                                              COUNT IV

                      NEGLIGENCE PURSUANT TO ILLINOIS LAW
                    AGAINST WEXFORD HEALTH SOURCES, INC. AND
                     GHALIAH OBAISI, INDEPENDENT EXECUTOR,
                           ESTATE OF DR. SALEH OBAISI

        52.      Plaintiff re-alleges Paragraphs 1 through 30 as if fully set forth herein.

        53.      From May 19, 2015 through approximately May 18, 2016, Wexford and Dr.

Obaisi, and their agents, servants and/or employees, were responsible for providing, and did

provide, medical services, including but not limited to diagnosis and treatment, to the Plaintiff.

        54.      Wexford and Dr. Obaisi performed these services for the Plaintiff themselves

and by directing physicians, nurses and assistants to perform those services.

        55.      At all times relevant hereto, there existed a duty on the part of Wexford and Dr.

Obaisi, and their agents, servants and/or employees, to provide adequate medical care, diagnosis

and treatment to its patients, including the Plaintiff.

        56.      Wexford and Dr. Obaisi, and their agents, servants and/or employees, were

subject to a standard of care in the correctional health community by which their treatment of the

Plaintiff is measured.

        57.      Physician, nurses and assistants who met the ordinary standard of care would

have provided Plaintiff with proper medical care.

        58.      Wexford and Dr. Obaisi, and their agents, servants and/or employees, breached

their duty and did not meet this standard of care, thereby causing the Plaintiff harm: blindness in

one eye.

        59.      Contrary to its duty, Wexford and Dr. Obaisi, and their agents, servants and/or

employees, were negligent of the following, and other, careless and negligent acts and omissions:


                                                   9
  Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 10 of 11 PageID #:344




                a. Failed to properly assess and diagnose the Plaintiff’s medical issues;

                b. Failed to refer Plaintiff to a specialist in a timely manner;

                c. Failed to comply with physicians’ orders and medical direction provided by
                   medical staff of two hospitals;

                d. Failed to place Plaintiff in an environment suited for his treatment;

                e. Caused and were responsible for delays in Plaintiff’s treatment; and,

                f. Failed to dispense medications to Mr. Loniello.

        60.     Said acts and omissions fell below the ordinary standard of care.

        61.     Said acts and omissions deviated from the ordinary standard of care.

        62.     A resulting injury was proximately caused by the deviation from the standard of

care.

        63.     As a direct and proximate result of one or more of the above-mentioned careless

acts and omissions of Wexford and Dr. Obaisi, and their agents, servants and/or employees,

Plaintiff was denied adequate treatment and suffered significant and irreversible injuries.

        64.     Pursuant to 735 ILCS 5/2-622, an attorney’s affidavit (attached to which is the

physician’s health report) is attached as Exhibit 1.

        WHEREFORE, the Plaintiff prays that this Honorable Court enter judgment in

 favor of the Plaintiff and against Ghaliah Obaisi, Independent Executor of the Estate of

 Dr. Saleh Obaisi, Deceased, and the Defendant Wexford Health Sources, Inc., and to

 award Plaintiff proper relief, attorney’s fees, and costs.




                                                 10
 Case: 1:15-cv-07832 Document #: 123 Filed: 04/20/18 Page 11 of 11 PageID #:345




                                         JURY DEMAND

       The Plaintiff requests a trial by jury.

                                                 Respectfully submitted,

                                                 MICKEY LONIELLO, JR.


                                                 /s/ David S. Lipschultz
                                                 David S. Lipschultz




David S. Lipschultz
Atty. No. 6277910
Law Offices of David S. Lipschultz
200 S. Michigan Avenue, Suite 201
Chicago, Illinois 60604
Telephone: 312-414-1778
David@dsllawoffice.com




                                                  11
